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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF VIRGINIA
                             CHARLOTTESVILLE DIVISION

 DEBI FRYE, Administrator of                           )
  the Estate of Ellis Frye and in                      )
  her individual capacity,                             )
                                                       )
        Plaintiff,                                     )
                                                       )
 v.                                                    )   Civil Action No. 3:22-cv-00070
                                                       )
 SCOTT H. JENKINS, ET AL.                              )
                                                       )
        Defendants.                                    )


                                              ORDER

        For the reasons set forth in the accompanying Memorandum Opinion, Defendants’

 Motions to Dismiss, Dkts. 32, 34, are GRANTED. Frye’s claims against the Sherriff’s Office

 are DISMISSED WITH PREJUDICE. Frye’s monetary claims against Jenkins and Dorrough

 in their official capacities are DISMISSED WITH PREJUDICE. Count III of this action is

 DISMISSED WITHOUT PREJUDICE. The case remains pending against Jenkins and

 Dorrough in their individual capacities as to Counts I, II, IV, and V.

        It is so ORDERED.

                                                       Entered: July 19, 2023


                                                       Robert S. Ballou
                                                       Robert S. Ballou
                                                       United States District Judge
